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9                        UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA

11   HEIDI SHINK,             ) Case No. 2:14-cv-01060-GW-MRW
12           Plaintiff,       )
                              )
13
          vs.                 ) NOTICE OF SETTLEMENT
14                            )
                              )
15
     R.M. GALICIA, INC. dba   )
16   PROGRESSIVE MANAGEMENT   ) Hon. George H. Wu
17
     SYSTEMS,                 )
              Defendants.     )
18
          NOW COMES THE PLAINTIFF by and through her attorney to
19
     respectfully notify this Honorable Court that this case has settled. Plaintiff
20

21   requests that this Honorable Court allow sixty (60) days with which to file
22
     dispositive documentation. A Joint Stipulation for Dismissal will be forthcoming.
23

24   This Court shall retain jurisdiction over this matter until fully resolved.
25
                  Respectfully submitted this 31st day of March, 2014.
26

27
                                            By: s/Todd M. Friedman
                                               TODD M. FRIEDMAN
28                                             Law Offices of Todd M. Friedman, P.C.
                                               Attorney for Plaintiff


                                        Notice of Settlement - 1
     Case 2:14-cv-01060-GW-MRW Document 9 Filed 03/31/14 Page 2 of 2 Page ID #:36



1    Filed electronically on this 31st day of March, 2014, with:
2
     United States District Court CM/ECF system
3

4    Notification sent electronically via the Court’s ECF system to:
5
     Honorable George H. Wu
6    United States District Court
7    Central District of California
8
     Ms. Debbie Kirkpatrick
9    Sessions, Fishman, Nathan & Israel, LLP
     1545 Hotel Circle South, Suite 150
10
     San Diego CA 92108
11   Attorney for Defendant
12
     This 31st day of March, 2014.
13

14   s/Todd M. Friedman
     Todd M. Friedman
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                                      Notice of Settlement - 2
